      Case 1:18-cv-03755-RA Document 35 Filed 07/16/18 Page 1 of 15



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 KEYBANK NATIONAL ASSOCIATION,

                       Plaintiff,            Civil Action No. 1:18-CV-03755

      -against-

 FRANKLIN ADVISERS, INC.; FRANKLIN
 INVESTORS SECURITIES TRUST – FRANKLIN
 FLOATING RATE DAILY ACCESS FUND;
 FRANKLIN FLOATING RATE MASTER TRUST
 – FRANKLIN FLOATING RATE MASTER
 SERIES; FRANKLIN TEMPLETON SERIES II
 FUNDS – FRANKLIN FLOATING RATE II
 FUND;    KANSAS   PUBLIC     EMPLOYEES
 RETIREMENT SYSTEM; FRANKLIN FLOATING
 RATE MASTER TRUST – FRANKLIN LOWER
 TIER FLOATING RATE FUND; FRANKLIN
 FLOATING    RATE   MASTER     TRUST  –
 FRANKLIN MIDDLE TIER FLOATING RATE
 FUND; AND FRANKLIN TEMPLETON SERIES II
 FUNDS – FRANKLIN UPPER TIER FLOATING
 RATE FUND,
                      Defendants.




  KEYBANK NATIONAL ASSOCIATION’S REPLY MEMORANDUM OF LAW IN
           FURTHER SUPPORT OF ITS MOTION TO REMAND
              Case 1:18-cv-03755-RA Document 35 Filed 07/16/18 Page 2 of 15




                                                   TABLE OF CONTENTS

                                                                                                                                      Page

PRELIMINARY STATEMENT .................................................................................................... 1
ARGUMENT .................................................................................................................................. 2
I.        THIS CASE MUST BE REMANDED TO THE NEW YORK STATE COURT
          BECAUSE THIS COURT DOES NOT HAVE JURISDICTION UNDER 28
          U.S.C. § 1334(b) ................................................................................................................. 2
II.       ALTERNATIVELY, THE COURT MUST ABSTAIN ..................................................... 8
III.      JOINDER TO OTHER MATTERS RAISED BY FIFTH THIRD BANK ...................... 10
CONCLUSION ............................................................................................................................. 10




                                                                   -i-
              Case 1:18-cv-03755-RA Document 35 Filed 07/16/18 Page 3 of 15



                                                  TABLE OF AUTHORITIES

                                                                                                                                         Page(s)

Cases

Baker v. Simpson,
   613 F.3d 346 (2d Cir. 2010)...................................................................................................5, 6

Capital Hill Grp. V. Pullsbury Winthrop Shaw Pittman, LLP,
   No. CIVA 07-1936 RCL, 2008 WL 2690731 (D.D.C. July 2, 2008), aff’d sub
   nom. Capitol Hill Grp. v. Pillsbury, Winthrop, Shaw, Pittman, LLC, 569 F.3d
   485 (D.C. Cir. 2009) ..................................................................................................................9

Gramercy Warehouse Funding I LLC v. Colfin JIH Funding LLC,
   No. 11 CIV. 9715 KBF, 2012 WL 75431, U.S. Dist. LEXIS 3244 (S.D.N.Y.
   Jan. 6, 2012) ...............................................................................................................................4

JS Barkats PLLC v. Blue Sphere Corp.,
    No. 16-CV-8404 (RA), 2017 WL 2930935 (S.D.N.Y. July 10, 2017) ......................................2

Langston Law Firm v. Mississippi,
   410 B.R. 150 (S.D.N.Y. 2008)...................................................................................................7

In re Leco Enterprises, Inc.,
    144 B.R. 244 (S.D.N.Y. 1992)...................................................................................................6

Louisville & Nashville R.R. Co. v. Mottley,
   211 U.S. 149 (1908) ...................................................................................................................6

Luciano v. Maggio,
   139 B.R. 572 (E.D.N.Y. 1992) ..................................................................................................5

In re Marcus Hook Dev. Park, Inc.,
    943 F.2d 261 (3d Cir. 1991).......................................................................................................5

In re McClelland,
    377 B.R. 446 (Bankr. S.D.N.Y. 2007), aff’d, 460 B.R. 397 (Bankr. S.D.N.Y.
    2011) ..........................................................................................................................................9

In re P.D.S. Dev. Corp.,
    103 B.R. 93 (Bankr. S.D.N.Y. 1989) .........................................................................................2

Porter v. NationsCredit Consumer Discount Co. (In re Porter),
   295 B.R. 529 (Bankr. E.D. Pa. 2003) ........................................................................................5

Winstar Holdings, LLC v. Blackstone Grp. L.P.,
   No. 07 CIV. 4634 (GEL), 2007 WL 4323003 (S.D.N.Y. Dec. 10, 2007) .........................6, 7, 9

                                                                       - ii -
           Case 1:18-cv-03755-RA Document 35 Filed 07/16/18 Page 4 of 15



        Plaintiff KeyBank National Association (“KeyBank”), by and through its undersigned

counsel, Reed Smith LLP, files this reply in further support of its motion for an order remanding

this action back to the Supreme Court of the State of New York – County of New York (the

“New York State Court”) or, in the alternative, abstaining from determining this action pursuant

to 28 U.S.C. § 1334 (c)(1) or (2) [ECF No. 28, 31, 32] (the “Motion”).1

                                     PRELIMINARY STATEMENT

        Defendants effectively ask this Court to impermissibly expand the scope of bankruptcy

jurisdiction in order to pigeon-hole this state-law driven inter-lender dispute into the confines of

the limited scope of federal court jurisdiction over bankruptcy matters. Defendants do so in an

attempt to have this litigation transferred to the Bankruptcy Court—a venue that contravenes the

express agreement among the parties which specified that inter-lender disputes would be

adjudicated in New York. Contrary to the Defendants’ wishes, the Bankruptcy Court lacks

jurisdiction over the Complaint.2 Simply put, the causes of action raised in the Complaint are not

“related to” the Bankruptcy Cases because they will have no impact whatsoever upon the

Bankruptcy Cases.         Despite Defendants’ reliance upon a misreading of an indemnification

provision in various credit agreements, Appvion’s bankruptcy estate has no indemnification

obligations in connection with this matter, and the issues raised herein will not otherwise impact

1
  Capitalized terms used but not defined herein shall have the meanings set forth in the Motion.
2
  Despite Defendants’ multiple statements to the contrary, the Bankruptcy Court has never actually ruled upon the
issues asserted herein (if it had, presumably the Defendants would have raised collateral estoppel or res judicata).
Indeed, issues related to those asserted in the Complaint were substantively entertained before the Bankruptcy Court
only one time, in the context of a hearing to establish bidding procedures that were applicable to the sale of
Appvion’s assets. After hearing oral argument on the issues, the Bankruptcy Court simply determined that the
issues raised were not issues that were required to be adjudicated in the context of a bidding procedures hearing and
specifically held that its order was without prejudice to KeyBank’s ability to assert these claims in the appropriate
forum. See Dkt. No. 26 at Ex. B (Hrg. Tr. Mar. 12, 2018) at 83:16-20 (“To the extent that [KeyBank and Fifth
Third] think that Franklin here has breached the credit agreement, this order [approving the Second DIP Credit
Agreement on an interim basis and approving bidding procedures in connection with the sale of Appvion] will be
without prejudice for them to assert those claims in an appropriate forum, whether it’s this or another one.”)
(emphasis added). Thereafter, the parties agreed upon language that was inserted in subsequent Bankruptcy Court
orders which reserved and preserved the claims set forth herein for determination in the appropriate forum.


                                                       -1-
         Case 1:18-cv-03755-RA Document 35 Filed 07/16/18 Page 5 of 15



the bankruptcy estate in any way. Because the claims are not “related to” the Bankruptcy Cases,

the claims cannot possibly be within the Bankruptcy Court’s “arising under” or “arising in”

jurisdiction. That aside, the inter-lender state law claims asserted in the Complaint (i) cannot be

viewed under any stretch of the imagination to assert causes of action grounded in the

Bankruptcy Code and (ii) do not involve the administration of Appvion’s bankruptcy case, as

would be required for such claims to “arise under” the Bankruptcy Code. Likewise, the inter-

lender state law claims asserted in the Complaint can—and currently do—exist outside of the

Bankruptcy Cases and do not “arise in” the Bankruptcy Cases. Accordingly, this Action must be

remanded to the New York State Court because it involves only claims between non-debtor

parties that will not have any impact upon the Bankruptcy Cases.

       Alternatively, to the extent that this Court determines that it can exercise jurisdiction over

this matter pursuant to its “related to” jurisdiction, as conceded by Defendants, the Court must

abstain from adjudicating this matter pursuant to 28 U.S.C. § 1334(c)(2). Should the Court

determine that the Action is within its jurisdiction, the Court should abstain under 28 U.S.C.

§ 1334(c)(2) or equitably remand the Action under 28 U.S.C. § 1452(b) because the Action is

isolated from and will have no impact upon the administration of the Bankruptcy Cases.

                                          ARGUMENT

I.     THIS CASE MUST BE REMANDED TO THE NEW YORK STATE COURT
       BECAUSE THIS COURT DOES NOT HAVE JURISDICTION UNDER 28 U.S.C.
       § 1334(b)

       This Action must be remanded if it is not within this Court’s “arising under”, “arising in”

or “related to” jurisdiction under 28 U.S.C. § 1334(b), and any doubts regarding the Court’s

jurisdiction must be resolved against removability. E.g. JS Barkats PLLC v. Blue Sphere Corp.,

No. 16-CV-8404 (RA), 2017 WL 2930935, at *3 (S.D.N.Y. July 10, 2017). As set forth in the

Motion, this Action is not within this Court’s “related to” jurisdiction because it will have no

                                               -2-
          Case 1:18-cv-03755-RA Document 35 Filed 07/16/18 Page 6 of 15



conceivable impact on the Bankruptcy Cases. This Action will not affect the amount of property

available for distribution to Appvion’s creditors or the allocation of Appvion’s property among

such creditors and will not alter Appvion’s rights or liabilities. In re P.D.S. Dev. Corp., 103 B.R.

93, 95 (Bankr. S.D.N.Y. 1989).       Importantly, if the claims in this Action had any effect

whatsoever on the Bankruptcy Cases, the Bankruptcy Court likely would have required such

claims to be adjudicated in the Bankruptcy Cases prior to entry of the Second DIP Financing

Order or the Sale Order, and would not have reserved the parties’ rights to assert these claims in

a separate forum. See Dkt. No. 26 at Ex. B (Hrg. Tr. Mar. 12, 2018) at 83:16-20 (“To the extent

that [KeyBank and Fifth Third] think that Franklin here has breached the credit agreement, this

order [approving the Second DIP Credit Agreement on an interim basis and approving bidding

procedures in connection with the sale of Appvion] will be without prejudice for them to assert

those claims in an appropriate forum, whether it’s this or another one.”) (emphasis added).

       In their opposition, Defendants once again rely upon a partial reading of the

indemnification clauses in the DIP Credit Agreement that ignores the lack of indemnification

coverage over inter-lender disputes in order to manufacture “related to” jurisdiction. Whether or

not the claims asserted in this Action involve alleged willful misconduct (which they most

certainly do), by its very terms, the indemnification clause does not apply to inter-lender disputes

like this one. The indemnification clause relied upon by Defendants (which is set forth at length

in the Motion) applies only to claims asserted against a Lender “by any third party or by the

Borrower or any other Loan Party[.]” Dkt. No. 26 at Ex. C, § 11.04; id. at §11.04(y) (indemnity

for law suits only covers claims brought by any “third party” or any “”Group Member” – it does

not cover causes of action brought by a fellow lender). The term “Loan Parties” is defined in the

DIP Financing Order as “the Company and the Guarantors.” See Dkt. No. 26 at Ex. C at n.3.



                                               -3-
           Case 1:18-cv-03755-RA Document 35 Filed 07/16/18 Page 7 of 15



KeyBank is not a Borrower or a Loan Party, and therefore the indemnification provision could

apply only if KeyBank were a “third party”. KeyBank is a party to the DIP Credit Agreement

and, therefore is not a “third party” to that agreement. KeyBank is included within the definition

of “Roll-Up Lender” under the Second DIP Credit Agreement. Had that provision been intended

to cover claims against Roll-Up Lenders, the parties would have specifically so provided.

       Moreover, the indemnification provision also does not apply to claims that are “solely

amongst Indemnitees and/or their Related Parties and do[] not involve an act or omission by”

Appvion.    Id.   This Action solely concerns the Defendants’ breaches of the DIP Credit

Agreement in connection with proposing, initiating and implementing a new loan facility that

breached the DIP Credit Agreement and proposing consideration in connection with the sale of

Appvion which breaches the DIP Credit Agreement. The Action does not allege that Appvion

caused any act or omission in connection with Defendants’ breaches.              The fact that the

transactions involved Appvion does not justify the conclusion that this Action involves an “act or

omission” of Appvion. In fact, reading the exception that broadly would result in the exception

having no meaning, since Appvion would have the same relationship to virtually any claim that

could be covered by the indemnification clause. Because the indemnification provisions could

not possibly apply to this Action, they cannot form the basis of “related to” jurisdiction.

       Finally, Defendants’ argument that this Action seeks to affect Appvion’s distributions in

the Bankruptcy Cases is misplaced.            As concerns Appvion’s bankruptcy estate, the

Administrative Agent’s credit bid of the secured creditors’ claims “fully and finally satisfied”

those claims against the Debtors. Dkt. No. 31 at Ex. C (Plan), § VII(A)(1)(c). This Action

involves claims against the Defendants – it does not involve any claims against Appvion seeking

a re-distribution. In sum, KeyBank’s claims against Defendants will have absolutely no impact



                                                -4-
          Case 1:18-cv-03755-RA Document 35 Filed 07/16/18 Page 8 of 15



upon Appvion’s bankruptcy estate. See Gramercy Warehouse Funding I LLC v. Colfin JIH

Funding LLC, No. 11 CIV. 9715 KBF, 2012 WL 75431, at *2-*3, U.S. Dist. LEXIS 3244

(S.D.N.Y. Jan. 6, 2012). Because this Action is not at least “related to” the Bankruptcy Cases, it

“cannot possibly be a core proceeding” (i.e. a proceeding within the Court’s “arising under” or

“arising in” jurisdiction) and must be remanded. Porter v. NationsCredit Consumer Discount

Co. (In re Porter), 295 B.R. 529, 537-38 (Bankr. E.D. Pa. 2003) (“The [Marcus Hook] court held

(agreeing with other circuit courts) that, when considering whether a bankruptcy court has the

power to determine a dispute, a court need only decide whether the proceeding ‘is at least

‘related to’ the bankruptcy.’ If core proceedings could be unrelated to a bankruptcy case, the

jurisdictional question could only be resolved by analyzing both aspects of the classification

issue. Thus, the court in Marcus Hook understood that a proceeding ‘not related’ to the

bankruptcy case cannot possibly be a core proceeding.”) (citing In re Marcus Hook Dev. Park,

Inc., 943 F.2d 261, 264 (3d Cir. 1991)).

       While the lack of “related to” jurisdiction alone should end the inquiry, this Action is also

outside of the Court’s “arising under” and “arising in” jurisdiction. To “arise under” Title 11, a

civil proceeding “must either be created by title 11 or involve administration of the estate.”

Luciano v. Maggio, 139 B.R. 572, 575 (E.D.N.Y. 1992).               The case cited by Defendants

supporting their broad interpretation of “arising under” jurisdiction, though analyzing the scope

of “core” jurisdiction generally, was specifically focused upon “arising in” jurisdiction, not

“arising under” jurisdiction. Baker v. Simpson, 613 F.3d 346, 349 (2d Cir. 2010) (“We find that

the bankruptcy court's exercise of its “arising in” jurisdiction, as set forth in 28 U.S.C. § 1334(b),

was proper and affirm”). As stated in another case cited by Defendants:

       Simply put, plaintiffs' causes of action are based on state tort law, and rest on
       familiar common-law principles prohibiting fraud and misrepresentation. No

                                                -5-
          Case 1:18-cv-03755-RA Document 35 Filed 07/16/18 Page 9 of 15



       proposition of bankruptcy law must be established for plaintiffs to prevail, and no
       provision of the bankruptcy code is implicated in their allegations. The causes of
       action asserted in the complaint are in no sense ‘created by’ title 11 of the United
       States Code.

Winstar Holdings, LLC v. Blackstone Grp. L.P., No. 07 CIV. 4634 (GEL), 2007 WL 4323003, at

*2 (S.D.N.Y. Dec. 10, 2007). Here, like the Winstar case, the state law causes of action asserted

in the Complaint were neither “created by title 11 [n]or involve administration of the estate” and

do not raise disputes or issues under section 364 (or any other section) of the Bankruptcy Code.

Under Defendants’ reading, almost any dispute even tangentially related to a debtor-in-

possession financing transaction would “arise under” the Bankruptcy Code. Tellingly,

Defendants have pointed to no case standing for such a proposition because such an expansion of

“arising under” jurisdiction is not supported by the plain language of the Bankruptcy Code or

applicable case law, and in fact, one case cited by Defendants clearly goes against such

proposition. Id. at *2 (“It may be that provisions of the APA and of the Bankruptcy Court's order

approving it will be relevant to the outcome of the case. However, as the Supreme Court held in

Mottley in the context of general federal question jurisdiction, ‘[a]lthough such allegations show

that very likely, in the course of the litigation, a question under [bankruptcy law] would arise,

they do not show that the suit, that is, the plaintiff's original cause of action, arises under [title

11].”) (citing Louisville & Nashville R.R. Co. v. Mottley, 211 U.S. 149, 152 (1908)).

       Likewise, this Action does not “arise in” the Bankruptcy Cases because (i) it does not

involve a matter “depend[ent] upon the application or construction of bankruptcy law as

expressed in Title 11,” In re Leco Enterprises, Inc., 144 B.R. 244, 248 (S.D.N.Y. 1992), and (ii)

the inter-lender issues raised in this Action could easily “exist[] outside of the bankruptcy.’”

Baker, 613 F.3d at 350–51. At its core, the Action seeks a determination of the parties’

respective rights under the DIP Credit Agreement and applicable state law and has no impact

                                                -6-
           Case 1:18-cv-03755-RA Document 35 Filed 07/16/18 Page 10 of 15



upon Appvion, any of Appvion’s property or rights or the distribution of any estate assets to

Appvion’s creditors. Defendants suggest that KeyBank’s routine claims under the DIP Credit

Agreement fall within the Court’s “arising in” jurisdiction simply because they involve an

agreement that was approved by the Bankruptcy Court, despite the fact that the claims have no

relationship to the ongoing bankruptcy case and are not dependent upon the application or

construction of bankruptcy law.3 As noted in a case cited by Defendants when a nearly identical

argument was raised:

         Defendants argue that [the ‘arising in’] standard is met, pointing out that had [the
         debtor] not been in bankruptcy, the sale would never have taken place, the alleged
         misrepresentations would never have occurred, and so this action would have no
         existence absent the bankruptcy…. This argument may be somewhat
         oversimplified. The courts and commentators using the ‘no existence outside of
         the bankruptcy’ formulation seem to be referring to proceedings that by their
         nature cannot exist outside of bankruptcy, and not merely to actions that, as a
         factual matter, have their origins in events occurring during a bankruptcy
         proceeding.
         ***
         Plaintiffs here sue for fraud. Such a claim is not one that ‘by its very nature ... can
         only be brought in a bankruptcy action.’ Rather, it is a garden-variety common-
         law claim that most usually is brought outside of bankruptcy.

Winstar Holdings, LLC, 2007 WL 4323003, at *3-4.4 See also Langston Law Firm v.

Mississippi, 410 B.R. 150 (S.D.N.Y. 2008) (“While it is true that this dispute originates

in the Debtors' bankruptcy proceeding and that it would not have arisen had the


3
  Defendants’ reading of “arising in” jurisdiction would result in an expansion of “arising in” jurisdiction to
indefinitely encompass any agreement subject to a bankruptcy court order, no matter how tangential or remote the
agreement or issues are to a bankruptcy proceeding. For example, under section 365 of the Bankruptcy Code, a
debtor can assume and assign certain executory contracts and unexpired leases that could not otherwise be assigned
outside of bankruptcy. Under Defendants’ reading of “arising in” jurisdiction, because the Bankruptcy Court
blessed the assignment and the contracts could not have been assigned outside of bankruptcy, all future disputes
between the parties to the assigned contract (i.e. non-debtors) would be within the Court’s “arising in” jurisdiction,
despite the fact that such disputes have no relationship to the bankruptcy proceedings whatsoever. This is clearly
not what Congress intended.
4
  The Winstar court ultimately found that the causes of action asserted in that case were within the “arising in”
jurisdiction of the court solely because they involved claims regarding the conduct of professionals involved in the
administration of the bankruptcy estate. This Action asserts no such claims and, therefore, involves simple
garden-variety state law claims that can—and should— be determined in the state court.


                                                        -7-
         Case 1:18-cv-03755-RA Document 35 Filed 07/16/18 Page 11 of 15



bankruptcy not occurred, appellant is incorrect that this action, by its nature, could only

be brought in bankruptcy court. Rather, the parties could have brought this dispute, or

any dispute relating to the payment of attorneys' fees in a settlement agreement, in any

court. Moreover, there is no evidence that the dispute… will impact the administration of

the estate. The resolution of the action will not affect the Debtors, …. The Debtors and

the creditors have no interest in [the outcome of the litigation].”). Simply, “arising in”

jurisdiction is intended to encompass matters that actually involve the application or

construction of bankruptcy law, which this Action does not. The claims in the Action

relate to the distribution of property of AHC, a non-debtor, that will have absolutely no

effect on the Bankruptcy Cases. Because the claims asserted in the Complaint do not

involve the application or construction of bankruptcy law and could—and currently do—

exist outside of a bankruptcy case, the bankruptcy court does not have “arising in”

jurisdiction over the claims. Accordingly, the Action must be remanded.

II.    ALTERNATIVELY, THE COURT MUST ABSTAIN

       This Action does not fall within the scope of this Court’s limited jurisdiction under

28 U.S.C. § 1334(b). If the Court nevertheless determines it can exercise jurisdiction over this

matter under the Court’s “related to” jurisdiction pursuant to 28 U.S.C. § 1334(b), the

Defendants conceded that this Court must abstain from adjudicating this matter pursuant to

28 U.S.C. § 1334(c)(2). See Dkt. No. 33, 14 n.7. Alternatively, if the Court determines that the

Action is otherwise within its jurisdiction, the Court should abstain pursuant to 28 U.S.C.

§ 1334(c)(1) or equitably remand the Action to the New York State Court under 28 U.S.C.

§ 1452(b), because consideration of the Abstention Factors and the Remand Factors weighs in

favor of abstention and equitable remand. As detailed in the Motion, abstention will not affect

the administration of the Bankruptcy Cases, which will soon be concluded whether or not the
                                               -8-
           Case 1:18-cv-03755-RA Document 35 Filed 07/16/18 Page 12 of 15



Action is resolved, and the New York State Court can efficiently determine the state law issues

raised in the Action. The cases cited by the Defendant all involve claims relating to purported

misconduct of professionals retained by the bankruptcy estate, which is simply not the case here.

See Capital Hill Grp. V. Pullsbury Winthrop Shaw Pittman, LLP, No. CIVA 07-1936 RCL, 2008

WL 2690731, at *1 (D.D.C. July 2, 2008), aff'd sub nom. Capitol Hill Grp. v. Pillsbury,

Winthrop, Shaw, Pittman, LLC, 569 F.3d 485 (D.C. Cir. 2009) (involving malpractice action

asserted against counsel relating to representation during bankruptcy proceedings); Winstar

Holdings, LLC v. Blackstone Grp. L.P., No. 07 CIV. 4634 (GEL), 2007 WL 4323003, at *1

(S.D.N.Y. Dec. 10, 2007) (involving claims against financial advisor relating to alleged

fraudulent inducement to enter in to an asset purchase agreement with the debtor); In re

McClelland, 377 B.R. 446 (Bankr. S.D.N.Y. 2007), aff'd, 460 B.R. 397 (Bankr. S.D.N.Y. 2011)

(malpractice claim asserted against appraiser retained during bankruptcy case).                            Likewise,

because this case is in its infancy, interests of judicial economy do not particularly favor the

Bankruptcy Court over the New York State Court. Although the Bankruptcy Court is familiar

with the agreements at issue in the Action, 5 the Bankruptcy Court certainly does not have those

agreements committed to memory and would need to review and analyze the respective

agreements in the same level of detail as would any other court adjudicating the issues. In

asserting that KeyBank is simply forum shopping, Defendants once again ask this Court to

ignore the fact that KeyBank commenced the Action in the very forum agreed to among

KeyBank and the Defendants in the DIP Credit Agreement. See Dkt. No. 26 at Ex. C (DIP

Credit Agreement), § 11.14(b). Rather, it is Defendants who are forum shopping by asking the

5
  The statement by the Bankruptcy Court that it is “well familiar with the issues that are involved in this case, having
lived with them both in the courtroom and in chambers” was made by the Bankruptcy Court in reference to its
consideration of a settlement that had nothing to do with the issues or matters raised in the Action. See Dkt. No. 34
at Ex. G, at 48-50.


                                                         -9-
         Case 1:18-cv-03755-RA Document 35 Filed 07/16/18 Page 13 of 15



Court to ignore the parties’ agreement upon a forum. Based upon the foregoing, should the

Court determine that it has jurisdiction over the Action, it should equitably remand or abstain

from determining the Action.

III.   JOINDER TO OTHER MATTERS RAISED BY FIFTH THIRD BANK

       To the extent not asserted or raised in this Memorandum or the Motion, KeyBank hereby

joins in and adopts the arguments raised by Fifth Third in the reply brief filed by Fifth Third on

the date hereof to apply (mutatis mutandis, as applicable, to this Action) as further arguments in

support of KeyBank’s Motion.

                                        CONCLUSION

       For the foregoing reasons and those set forth in the Motion, KeyBank respectfully

requests that this Court grant the Remand Motion or abstain from hearing the claims in the

Action, and grant KeyBank such other relief as is appropriate.



New York, New York

Dated: July 16, 2018

                                             Respectfully submitted,

                                             REED SMITH LLP

                                                 By: /s/ Jonathan Gordon
                                                   Jonathan P. Gordon
                                                   599 Lexington Avenue
                                                   New York, New York 10022
                                                   Telephone: (212) 521-5400
                                                   E-mail: Jonathan.Gordon@reedsmith.com




                                              - 10 -
Case 1:18-cv-03755-RA Document 35 Filed 07/16/18 Page 14 of 15



                                 - and –

                                 Peter S. Clark, Esquire
                                 Reed Smith LLP
                                 Three Logan Square, Suite 3100
                                 1717 Arch Street
                                 Philadelphia, PA 19103-7301
                                 Telephone: (215) 851-8100
                                 E-mail: pclark@reedsmith.com

                               Attorneys for   Plaintiff   KeyBank   National
                               Association




                            - 11 -
         Case 1:18-cv-03755-RA Document 35 Filed 07/16/18 Page 15 of 15



                                 CERTIFICATE OF SERVICE

       I, Jonathan Gordon, hereby certify that on July 16, 2018, I caused to be served on all
counsel of record, electronically via the Court’s electronic filing system, a true and correct copy
of KeyBank National Association’s Reply Memorandum of Law in Further Support of Its
Motion to Remand.

                                                        /s/ Jonathan Gordon
                                                        Jonathan Gordon




                                               - 12 -
